Case 23-12825-MBK              Doc 480-2 Filed 05/10/23 Entered 05/10/23 19:54:41                           Desc
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Attorneys for the States of
New Mexico and Mississippi

                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY

                                                          Chapter 11
    In re:
    LTL MANAGEMENT LLC,1                                  Case No.: 23-12825 (MBK)
                           Debtor.                        Judge: Michael B. Kaplan


     NOTICE OF MOTION OF THE STATE OF NEW MEXICO AND THE STATE OF
      MISSISSIPPI TO DISMISS THE SECOND BANKRUPTCY PETITION OF LTL
      MANAGEMENT LLC FOR CAUSE, PURSUANT TO SECTION 1112(B) OF THE
    UNITED STATES BANKRUPTCY CODE (11 U.S.C. §§ 101, ET SEQ.), AND JOINDER
          IN MOTIONS TO DISMISS FILED BY CERTAIN OTHER PARTIES


             PLEASE TAKE NOTICE that the States of New Mexico and Mississippi (collectively,

the “States”), by and through their undersigned counsel, Gibbons P.C., hereby move for entry of

an order by way of the Motion of the State of New Mexico and the State of Mississippi to Dismiss

the Second Bankruptcy Petition of LTL Management LLC for Cause, Pursuant to Section

1112(b) of the United States Bankruptcy Code (11 U.S.C. §§ 101, et seq.), and Joinder in

Motions to Dismiss Filed by Certain Other Parties (the “Motion”) before the United States

Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”).



1
 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
Street, New Brunswick, New Jersey 08933.
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       PLEASE TAKE FURTHER NOTICE that a hearing to consider the relief sought in the

Motion will be held on June 15, 2023 at 10:00 a.m. (EDT) or at such other time to be

established by the Court (the “Hearing”) before the Honorable Michael B. Kaplan, Chief

United States Bankruptcy Judge for the District of New Jersey, in Courtroom #8 at the United

States Bankruptcy Court for the District of New Jersey, Clarkson S. Fisher U.S. Courthouse, 402

East State Street, Trenton, New Jersey 08608.

       PLEASE TAKE FURTHER NOTICE that, pursuant to D.N.J. LBR 9013-2,

objections, if any, to the entry of an order approving the Motion must be (a) in writing and

served on or before June 8, 2023 (the “Objection Deadline”); (b) filed with the Clerk of the

Bankruptcy Court; and (c) served simultaneously upon Gibbons P.C., One Gateway Center,

Newark, New Jersey 07102 (Attn: Robert K. Malone, Esq.) so as to be received on or before the

Objection Deadline.

       PLEASE TAKE FURTHER NOTICE that only objections made in writing and timely

filed and served, in accordance with the procedures above, will be considered by the Bankruptcy

Court at the Hearing.

 Dated: May 10, 2023                            GIBBONS P.C.
        Newark, NJ
                                                By: /s/ Robert K. Malone
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                                                New Mexico and Mississippi




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